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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION



 JENNIFER TIPTON and SLEEKEZ,                 Case No. 1:19-cv-00025-SPW
 LLC,a Wyoming limited liability
 company,                                 ^

       Plaintiffs/Counterdefendants,                   ORDER GRANTING
                                                 PLAINTIFFS' MOTION FOR
 vs.                                              ORDER TO SHOW CAUSE


 HAL HORTON,

       Counterclaimant/Defendant.



       On May 28, 2021, Plaintiffs Jennifer Tipton ("Tipton") and SleekEZ, LLC

("SleekEZ" and, collectively with Tipton, the "Plaintiffs") filed Plaintiffs' Motion

for Order to Show Cause (the "Motion")(Doc. 32)why Defendant Hal Horton

("Horton")should not be held in contempt and subject to sanctions for violating

the Court's August 28, 2019, Judgment(Doc. 31), which contained a permanent

injunction (the "Permanent Injunction")(id. at 1-2).

       On July 7, 2021, Horton filed Defendants' [sic] Response to Motion for

Order to Show Cause.(Doc. 47).

       On July 21, 2021, Tipton and SleekEZ filed Plaintiffs' Reply Brief

Supporting Motion for Order to Show Cause.(Doc. 48).
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